 USCA Case #16-1133            Document #1736093              Filed: 06/15/2018      Page 1 of 1



                      United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 16-1133                                                       September Term, 2017
                                                                  FILED ON: JUNE 15, 2018

DUKE ENERGY CORPORATION, ET AL.,
                 PETITIONERS

v.

FEDERAL ENERGY REGULATORY COMMISSION,
                  RESPONDENT

PJM INTERCONNECTION, L.L.C.,
                  INTERVENOR


                              On Petition for Review of Orders of the
                              Federal Energy Regulatory Commission


       Before: TATEL, GRIFFITH, and MILLETT, Circuit Judges

                                         JUDGMENT

       This cause came on to be heard on the petition for review of orders of the Federal Energy
Regulatory Commission and was argued by counsel. On consideration thereof, it is

       ORDERED and ADJUDGED that the petition for review is denied, in accordance with the
opinion of the court filed herein this date.

                                            Per Curiam



                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                      BY:   /s/

                                                            Ken Meadows
                                                            Deputy Clerk


Date: June 15, 2018

Opinion for the court filed by Circuit Judge Tatel.
